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AO 245B (SDIL Rev. 7/21) Judgment in a Criminal Case


                              UNITED STATES DISTRICT COURT
                                           Southern District of Illinois
                                                         )
     UNITED STATES OF AMERICA                            )     JUDGMENT IN A CRIMINAL CASE
                                                         )
                         v.                              )     Case Number: 4:23-CR-40045-SMY-1
                                                         )
                                                               USM Number: 86216-510
                                                         )
           MICHAEL A. ESKEW
                                                         )
                                                         )     BENEDICT Y. SONG
                                                               Defendant’s Attorney

THE DEFENDANT:

‫܈‬     pleaded guilty to count(s) 1, 13, and 14 of the Indictment on February 27, 2024
‫܆‬     pleaded nolo contendere to count(s)
      which was accepted by the court.
‫܆‬     was found guilty on count(s)
      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section        Nature of Offense                                                 Offense Ended       Count
18 U.S.C. § 471        Manufacture of Counterfeit Obligations of the United States       7/12/2019            1

       The defendant is sentenced as provided in pages 3 through 8 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

‫܆‬     The defendant has been found not guilty on count(s)
‫܈‬     Count(s) 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, and 15 ‫܆‬is ‫ ܈‬are dismissed on the motion of the United States.

‫܆‬     No fine         ‫ ܆‬Forfeiture pursuant to order filed , included herein.
‫܆‬     Forfeiture pursuant to Order of the Court. See page for specific property details.
        It is ordered that the defendant shall notify the United States attorney for this district within 30 days of
any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States attorney of any material change in the defendant’s economic circumstances.

                                                             July 23, 2024
Restitution and/or fees may be paid to:                      Date of Imposition of Judgment
Clerk, U.S. District Court*
750 Missouri Ave.
East St. Louis, IL 62201
                                                             Signature of Judge
*Checks payable to: Clerk, U.S. District Court               Staci M. Yandle, United States District Judge
                                                             Name and Title of Judge

                                                             Date Signed: August 8, 2024
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                                      ADDITIONAL COUNTS OF CONVICTION
Title & Section                    Nature of Offense                                        Offense Ended           Count
18 U.S.C. § 472                    Possession of Counterfeit Obligations of the United      7/12/2019                 13
                                   States

18 U.S.C. § 474(a)                 Possessing Digital Image of United States Currency for   7/12/2019                 14
                                   Counterfeiting
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                                                       IMPRISONMENT

       The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be
imprisoned for a total term of: 24 month on each count, to be served concurrently.


‫ ܆‬The court makes the following recommendations to the Bureau of Prisons:

‫ ܈‬The defendant is remanded to the custody of the United States Marshal.
‫ ܆‬The defendant shall surrender to the United States Marshal for this district:
  ‫ ܆‬at                         ‫܆‬a.m. ‫ ܆‬p.m. on
  ‫ ܆‬as notified by the United States Marshal.

‫ ܆‬The defendant shall surrender for service of sentence at the institution designated by the Bureau of
  Prisons:
  ‫܆‬before 2 p.m. on
  ‫ ܆‬as notified by the United States Marshal.
  ‫ ܆‬as notified by the Probation or Pretrial Services Office.

                                                         RETURN

I have executed this judgment as follows:


          Defendant delivered on ___________________ to _________________________________________

at ______________________________, with a certified copy of this judgment



                                                             ___________________________________________
                                                             UNITED STATES MARSHAL


                                                           By __________________________________________
                                                             DEPUTY UNITED STATES MARSHAL
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                                                       SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: 3 years on
each count, to run concurrently.

Other than exceptions noted on the record at sentencing, the Court adopts the presentence report in its
current form, including the suggested terms and conditions of supervised release and the explanations
and justifications therefor.

                                                MANDATORY CONDITIONS

The following conditions are authorized pursuant to 18 U.S.C. § 3583(d):

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit
to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the Court, not to exceed 52 tests in one year.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

                                            ADMINISTRATIVE CONDITIONS

The following conditions of supervised release are administrative and applicable whenever supervised
release is imposed, regardless of the substantive conditions that may also be imposed. These conditions
are basic requirements essential to supervised release.

The defendant must report to the probation office in the district to which the defendant is released within
seventy-two hours of release from the custody of the Bureau of Prisons.

The defendant shall not knowingly possess a firearm, ammunition, or destructive device. The defendant
shall not knowingly possess a dangerous weapon unless approved by the Court.

The defendant shall not knowingly leave the federal judicial district without the permission of the Court
or the probation officer.

The defendant shall report to the probation officer in a reasonable manner and frequency directed by the
Court or probation officer.

The defendant shall respond to all inquiries of the probation officer and follow all reasonable
instructions of the probation officer.

The defendant shall notify the probation officer prior to an expected change, or within seventy-two
hours after an unexpected change, in residence or employment.
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The defendant shall not knowingly meet, communicate, or otherwise interact with a person whom the
defendant knows to be engaged, or planning to be engaged, in criminal activity.

The defendant shall permit a probation officer to visit the defendant at a reasonable time at home or at
any other reasonable location and shall permit confiscation of any contraband observed in plain view of
the probation officer.

The defendant shall notify the probation officer within seventy-two hours of being arrested or
questioned by a law enforcement officer.

                                                       SPECIAL CONDITIONS

Pursuant to the factors in 18 U.S.C. § 3553(a) and 18 U.S.C. § 3583(d), the following special conditions
are ordered. While the Court imposes special conditions, pursuant to 18 U.S.C. § 3603(10), the
probation officer shall perform any other duty that the Court may designate. The Court directs the
probation officer to administer, monitor, and use all suitable methods consistent with the conditions
specified by the Court and 18 U.S.C. § 3603 to aid persons on probation/supervised release. Although
the probation officer administers the special conditions, final authority over all conditions rests with the
Court.

The defendant shall participate in treatment for narcotic addiction, drug dependence, or alcohol
dependence, which includes urinalysis and/or other drug detection measures and which may require
residence and/or participation in a residential treatment facility, or residential reentry center (halfway
house). The number of drug tests shall not exceed 52 tests in a one-year period. Any participation will
require complete abstinence from all alcoholic beverages and any other substances for the purpose of
intoxication. The defendant shall pay for the costs associated with services rendered, based on a Court
approved sliding fee scale and the defendant's ability to pay. The defendant's financial obligation shall
never exceed the total cost of services rendered. The Court directs the probation officer to approve the
treatment provider and, in consultation with a licensed practitioner, the frequency and duration of
counseling sessions, and the duration of treatment, as well as monitor the defendant's participation, and
assist in the collection of the defendant's copayment.

The defendant shall participate in mental health services, which may include a mental health assessment
and/or psychiatric evaluation, and shall comply with any treatment recommended by the treatment
provider. This may require participation in a medication regimen prescribed by a licensed practitioner.
The defendant shall pay for the costs associated with services rendered, based on a Court approved
sliding fee scale and the defendant's ability to pay. The defendant's financial obligation shall never
exceed the total cost of services rendered. The Court directs the probation officer to approve the
treatment provider and, in consultation with a licensed practitioner, the frequency and duration of
counseling sessions, and duration of treatment, as well as monitor the defendant's participation, and
assist in the collection of the defendant's copayment.

While any financial penalties are outstanding, the defendant shall provide the probation officer and the
Financial Litigation Unit of the United States Attorney's Office any requested financial information. The
defendant is advised that the probation office may share financial information with the Financial
Litigation Unit.
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While any financial penalties are outstanding, the defendant shall apply some or all monies received, to
be determined by the Court, from income tax refunds, lottery winnings, judgments, and/or any other
anticipated or unexpected financial gains to any outstanding court-ordered financial obligation. The
defendant shall notify the probation officer within 72 hours of the receipt of any indicated monies.

The defendant shall pay any financial penalties imposed which are due and payable immediately. If the
defendant is unable to pay them immediately, any amount remaining unpaid when supervised release
commences will become a condition of supervised release and be paid in accordance with the Schedule
of Payments sheet of the judgment based on the defendant's ability to pay.

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons.

The defendant's person, residence, real property, place of business, vehicle, and any other property under
the defendant's control is subject to a search, conducted by any United States Probation Officer and
other such law enforcement personnel as the probation officer may deem advisable and at the direction
of the United States Probation Officer, at a reasonable time and in a reasonable manner, based upon
reasonable suspicion of contraband or evidence of a violation of a condition of release, without a
warrant. Failure to submit to such a search may be grounds for revocation. The defendant shall inform
any other residents that the premises and other property under the defendant's control may be subject to
a search pursuant to this condition.

U.S. Probation Office Use Only

A U.S. Probation Officer has read and explained the conditions ordered by the Court and has provided me with a complete
copy of this Judgment. Further information regarding the conditions imposed by the Court can be obtained from the
probation officer upon request.

Upon a finding of a violation of a condition(s) of probation or supervised release, I understand that the court may (1) revoke
supervision, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.


Defendant’s Signature _______________________________________                   Date __________________________


U.S. Probation Officer _______________________________________                  Date __________________________
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                                         CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule of payments on
Sheet 8.
                   Assessment             Restitution        Fine                  AVAA Assessment*            JVTA Assessment**
TOTALS             $300                   N/A                $600                  N/A                         N/A

‫ ܆‬The determination of restitution is deferred until _____. An Amended Judgment in a Criminal Case
  (AO 245C) will be entered after such determination.
‫ ܆‬The defendant must make restitution (including community restitution) to the following payees in
  the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately
proportioned payment, unless specified otherwise in the priority order or percentage payment column
below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
States is paid.
                                                                                                                      Priority or
Name of Payee                                           Total Loss***                    Restitution Ordered          Percentage


‫܆‬     Restitution amount ordered pursuant to plea agreement $__________________
‫܆‬     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution
      or fine is paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
      3612(f). All of the payment options on Sheet 8 may be subject to penalties for delinquency and
      default, pursuant to 18 U.S.C. § 3612(g).
      The court determined that the defendant does not have the ability to pay interest and it is ordered
      that:
      ‫ ܆‬the interest requirement is waived for ‫ ܆‬fine ‫ ܆‬restitution.
      ‫ ܆‬the interest requirement for ‫ ܆‬fine ‫ ܆‬restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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                                                 SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as
follows:
A. ‫ ܆‬Lump sum payment of $ _________ due immediately, balance due
        ‫ ܆‬not later than ______________, or
        ‫ ܆‬in accordance ‫ ܆‬C, ‫ ܆‬D, ‫ ܆‬E, or ‫ ܆‬F below; or
B. ‫ ܈‬Payment to begin immediately (may be combined with ‫ ܆‬C, ‫ ܆‬D, or ‫ ܈‬F below; or
C. ‫ ܆‬Payment in equal ______ (e.g., weekly, monthly, quarterly) installments of $_______ over a
    period of _____ (e.g., months or years), to commence ________ (e.g., 30 or 60 days) after the date
    of this judgment; or
D. ‫ ܆‬Payment in equal _______ (e.g., weekly, monthly, quarterly) installments of $__________ over a
    period of ________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after
    release from imprisonment to a term of supervision; or
E. ‫ ܆‬Payment during the term of supervised release will commence within _________ (e.g., 30 or 60
    days) after release from imprisonment. The court will set the payment plan based on an assessment
    of the defendant's ability to pay at that time; or
F. ‫ ܈‬Special instructions regarding the payment of criminal monetary penalties:
        It is ordered that the defendant shall pay to the United States a special assessment of $300. The special
        assessment is payable through the Clerk of the U.S. District Court. It is further ordered that the defendant
        shall pay to the United States a fine of $600, payable through the Clerk of the U. S. District Court. The
        fine is due immediately.
        As the fine exceeds $100, the defendant shall notify the United States Attorney for this District within 30
        days of any change of name, residence, or mailing address until paid in full. All criminal monetary
        penalties are due immediately and payable through the Clerk, U.S. District Court. Having assessed the
        defendant’s ability to pay, payment of the total criminal monetary penalties shall be paid in equal monthly
        installments of $50 or ten percent of defendant’s net monthly income, whichever is greater. The defendant
        shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
        commencement of the term of supervised release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of
criminal monetary penalties is due during imprisonment. All criminal monetary penalties, except those
payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are
made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.
‫ ܆‬Joint and Several
    Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total
    Amount, Joint and Several Amount, and corresponding payee, if appropriate.
‫ ܆‬The defendant shall pay the cost of prosecution.
‫ ܆‬The defendant shall pay the following court cost(s):
‫ ܆‬The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court
costs.
